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                  Exhibit 2
         Proposed Order Directing Notice


In re: Equifax Inc. Customer Data Security Breach Litigation,
              No. 17-md-2800-TWT (N.D. Ga.)


 Plaintiffs’ Motion to Direct Notice of Proposed Settlement
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                 IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION
_____________________________
                                   ) MDL Docket No. 2800
In re: Equifax, Inc. Customer      ) Case No.: 1:17-md-2800-TWT
Data Security Breach Litigation    )
                                   ) CONSUMER ACTIONS
                                   )
_____________________________ )

                        ORDER DIRECTING NOTICE

       Before the Court is the Consumer Plaintiffs’ unopposed motion to permit

issuance of class notice of the proposed class action settlement. Having reviewed

the proposed settlement agreement, together with its exhibits, and based upon the

relevant papers and all prior proceedings in this matter, the Court has determined

the proposed settlement satisfies the criteria of Federal Rule of Civil Procedure

23(e) such that the Court will likely be able to approve the proposed settlement as

fair, reasonable, and adequate, and that issuance of notice of the proposed

settlement in accordance with the proposed notice plan is appropriate.

Accordingly, good cause appearing in the record, IT IS HEREBY ORDERED

THAT:

                    The Settlement Class and Class Counsel

      (1)   As set forth more fully herein, the Court finds that giving notice of the

proposed settlement is justified pursuant to Federal Rule of Civil Procedure
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23(e)(1). The Court finds that it will likely be able to approve the proposed

settlement as fair, reasonable, and adequate. The Court also finds that it will likely

be able to certify the following settlement class for purposes of judgment on the

settlement:

      The approximately 147 million U.S. consumers identified by Equifax
      whose personal information was compromised as a result of the
      cyberattack and data breach announced by Equifax on September 7,
      2017.1

      (2)     For settlement purposes, the Court determines the proposed settlement

class meets all the requirements of Rule 23(a) and (b)(3), namely that the class is

so numerous that joinder of all members is impractical; that there are common

issues of law and fact; that the claims of the class representatives are typical of

absent class members; that the class representatives will fairly and adequately

protect the interests of the class, as they have no interests antagonistic to or in

conflict with the class and have retained experienced and competent counsel to

prosecute this matter; that common issues predominate over any individual issues;

and that a class action is the superior means of adjudicating the controversy.


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  Excluded from the settlement class are: (i) Defendants, any entity in which
Defendants have a controlling interest, and Defendants’ officers, directors, legal
representatives, successors, subsidiaries, and assigns; (ii) any judge, justice, or
judicial officer presiding over this matter and the members of their immediate
families and judicial staff; and (iii) any individual who timely and validly opts out
of the settlement class.


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      (3)    The Court appoints the named plaintiffs identified in Exhibit 10 as

representatives of the proposed settlement class.

      (4)    The following lawyers are designated as settlement class counsel

pursuant to Rule 23(g): Kenneth S. Canfield of Doffermyre Shields Canfield &

Knowles, LLC; Amy E. Keller of DiCello Levitt & Gutzler, LLC; Norman E.

Siegel of Stueve Siegel Hanson LLP; and Roy Barnes of Barnes Law Group, LLC.

The Court finds that these lawyers are experienced and will adequately protect the

interests of the settlement class.

               Preliminary Evaluation of the Proposed Settlement

      (5)    Upon preliminary review, the Court finds the proposed settlement

provides a recovery for the class that is within the range of what could be approved

as fair, reasonable, and adequate, taking into account all of the risks, expense, and

delay of continued litigation; is the result of numerous good faith and arm’s-length

negotiations that took place under the auspices of a prominent national mediator; is

not otherwise deficient; otherwise meets the criteria for approval; and thus

warrants issuance of notice to the settlement class.

      (6)    In making this determination, the Court has considered the substantial

monetary and non-monetary benefits to the class; the specific risks faced by the

class in prevailing on Consumer Plaintiffs’ claims; the stage of the proceedings at



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which the settlement was reached; the effectiveness of the proposed method for

distributing relief to the class; the proposed manner of allocating benefits to class

members; and all of the other factors required under Rule 23.

                                Approval Hearing

      (7)    An approval hearing shall take place before the Court on

_________________, 2019, at _____ a.m./p.m. in Courtroom 2108 of the United

States District Court for the Northern District of Georgia, located at the Richard B.

Russell Federal Building and United States Courthouse, 75 Ted Turner Drive, SW,

Atlanta, Georgia 30303-3309 to determine whether: (a) the proposed settlement

class should be certified for settlement purposes pursuant to Rule 23; (b) the

settlement should be approved as fair, reasonable, and adequate and, in accordance

with the settlement’s terms, this matter should be dismissed with prejudice; (c)

class counsel’s application for attorneys’ fees and expenses should be approved;

and (d) the application for the class representatives to receive service awards

should be approved. Any other matters the Court deems necessary and appropriate

will also be heard.

      (8)    Any settlement class member who has not timely and properly

excluded themselves from the settlement class in the manner described below may

appear at the approval hearing in person or through counsel and be heard, as



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allowed by the Court, regarding the proposed settlement; provided, however, that

no class member who excluded themselves from the class shall be entitled to object

or otherwise appear, and, further provided, that no class member shall be heard in

opposition to the settlement unless the class member complies with the

requirements of this Order pertaining to objections, which are described below.

                        Administration and CAFA Notice

      (9)    JND    Legal    Administration     is   appointed   as   the   settlement

administrator, with responsibility for claim submissions, certain notice functions,

and administration pursuant to the terms of the settlement agreement. The claim

form attached to the settlement agreement is approved, as are versions derived

therefrom to be used during the extended claims period and for claims by minors,

as described in the motion for this order directing notice. The settlement

administrator may, where necessary, require individuals to provide, through

written, electronic, or other means, certain personal information including (without

limitation) full name, address, year of birth, email address, phone number, and last

six (6) digits of Social Security number in order to verify an individual’s status as a

class member and/or eligibility for any benefits under the settlement, in addition to

any other purposes consistent with the settlement administrator’s responsibilities

under the settlement agreement. The settlement administrator’s fees, as approved



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by the parties, will be paid from the settlement fund pursuant to the settlement

agreement.

      (10) Within 10 days after the filing of the motion to permit issuance of

notice, Defendant shall serve or cause to be served a notice of the proposed

settlement on appropriate state officials in accordance with the requirements under

the Class Action Fairness Act (“CAFA”), 28 U.S.C. § 1715(b).

                               Notice to the Class

      (11) Signal Interactive Media LLC is appointed as the notice provider,

with responsibility for effectuating class notice in accordance with the proposed

notice plan. The notice provider’s fees, as approved by the parties, will be paid

from the settlement fund pursuant to the settlement agreement.

      (12) The notice plan set forth in the settlement agreement and the forms of

notice attached as exhibits to the settlement agreement satisfy the requirements of

Federal Rule of Civil Procedure 23 and thus are approved. Non-material

modifications to the exhibits may be made without further order of the Court. The

notice provider is directed to carry out the notice program in conformance with the

settlement agreement and to perform all other tasks that the settlement agreement

requires.




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      (13) The Court finds that the form, content, and method of giving notice to

the settlement class as described in the settlement agreement and exhibits: (a)

constitute the best practicable notice to the settlement class; (b) are reasonably

calculated, under the circumstances, to apprise settlement class members of the

pendency of the action, the terms of the proposed settlement, and their rights under

the proposed settlement; (c) are reasonable and constitute due, adequate, and

sufficient notice to those persons entitled to receive notice; and (d) satisfy the

requirements of Federal Rule of Civil Procedure 23, the constitutional requirement

of due process, and any other legal requirements. The Court further finds that the

notices are written in plain language, use simple terminology, and are designed to

be readily understandable by settlement class members.

      Appointment of Experian for Monitoring and Restoration Services

      (14)    The Court appoints Experian as the provider of monitoring services

to eligible Settlement Class Members as set forth in the Settlement Agreement. The

Court directs that Experian effectuate the Settlement Agreement in coordination

with Settlement Class Counsel, Equifax, and the Settlement Administrator, subject

to the jurisdiction and oversight of this Court.

                             Exclusions from the Class




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      (15) Any settlement class member who wishes to be excluded from the

settlement class must mail a written notification of the intent to exclude themselves

to the settlement administrator at the address provided in the notice, postmarked no

later than ____________ (the “opt-out deadline”). Each written request for

exclusion must identify this action, set forth the name of the individual seeking

exclusion, be signed by the individual seeking exclusion, and can only request

exclusion for that one individual.

      (16) The settlement administrator shall provide the parties with copies of

all opt-out notifications, and, within 14 days after the opt-out deadline, a final list

of all that have timely and validly excluded themselves from the settlement class.

The final list of exclusions as well as a final list of those in the class should be filed

with the Court before the approval hearing.

      (17) Any settlement class member who does not timely and validly exclude

themselves from the settlement shall be bound by the terms of the settlement. If

final judgment is entered, any settlement class member who has not submitted a

timely, valid written notice of exclusion from the settlement class shall be bound

by all subsequent proceedings, orders, and judgments in this matter, including but

not limited to the release set forth in the settlement and final judgment.




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      (18) All those settlement class members who submit valid and timely

notices of exclusion shall not be entitled to receive any benefits of the settlement.

                           Objections to the Settlement

      (19) A settlement class member who complies with the requirements of

this Order may object to the settlement, Class Counsel’s request for fees and

expenses, or the request for service awards to the class representatives.

      (20) No settlement class member shall be heard, and no papers, briefs,

pleadings, or other documents submitted by any settlement class member shall be

received and considered by the Court, unless the objection is (a) electronically filed

with the Court by the objection deadline; or (b) mailed to the settlement

administrator at the address listed in the Long Form Notice available on the

settlement website, and postmarked by no later than the objection deadline.

Objections shall not exceed twenty-five (25) pages. For the objection to be

considered by the Court, the objection must be in writing and shall set forth:

             (a)    The name of this action;

             (b)    The objector’s full name and current address;

             (c)    The objector’s personal signature on the written objection (an

                    attorney’s signature is not sufficient);




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            (d)   A statement indicating the basis for the objector’s belief that he

                  or she is a member of the settlement class;

            (e)   A statement of whether the objection applies only to the

                  objector, to a specific subset of the settlement class, or to the

                  entire settlement class;

            (f)   A statement of the objector’s grounds for the objection,

                  accompanied by any legal support for the objection;

            (g)   A statement identifying all class action settlements objected to

                  by the objector in the previous five (5) years; and

            (h)   A statement as to whether the objector intends to appear at the

                  Fairness Hearing, either in person or through counsel, and if

                  through counsel, identifying counsel by name, address, and

                  telephone number, and four dates between the Objection

                  Deadline and [a date two weeks before Fairness Hearing]

                  during which the objecting settlement class member is available

                  to be deposed by counsel for the Parties.

      (21) In addition to the foregoing, if the objector is represented by counsel

and such counsel intends to speak at the Fairness Hearing, the written objection

must include:



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             (a)   A detailed statement of the specific legal and factual basis for

                   each and every objection; and

             (b)   A detailed description of any and all evidence the objector may

                   offer at the Fairness Hearing, including copies of any and all

                   exhibits that the objector may introduce at the Fairness Hearing.

      (22) In addition to the foregoing, if the objector is represented by counsel,

and such counsel intends to seek compensation for his or her services from anyone

other than the objector, the written objection must include:

             (a)   The identity of all counsel who represent the objector, including

                   any former or current counsel who may be entitled to

                   compensation for any reason related to the objection;

             (b)   A statement identifying all instances in which the counsel or the

                   counsel’s law firm have objected to a class action settlement

                   within the preceding five (5) years, giving the style and court in

                   which the class action settlement was filed;

             (c)   A statement identifying any and all agreements that relate to the

                   objection or the process of objecting—whether written or

                   oral—between the objector, his or her counsel, and/or any other

                   person or entity;



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            (d)    A description of the counsel’s legal background and prior

                   experience in connection with class action litigation; and

            (e)    A statement regarding whether fees to be sought will be

                   calculated on the basis of a lodestar, contingency, or other

                   method; an estimate of the amount of fees to be sought; the

                   factual and legal justification for any fees to be sought; the

                   number of hours already spent by the counsel and an estimate

                   of the hours to be spent in the future; and the attorney’s hourly

                   rate.

      (23) Any settlement class member who fails to comply with the provisions

in this Order will waive and forfeit any and all rights they may have to object, may

have their objection stricken from the record, and may lose their rights to appeal

from approval of the settlement. Any such class member also shall be bound by all

the terms of the settlement agreement, this Order, and by all proceedings, orders,

and judgments, including, but not limited to, the release in the settlement

agreement if final judgment is entered.

                                 Claims Process

      (24) The settlement agreement establishes a process for claiming benefits

under the settlement, including reimbursement for out-of-pocket losses relating the



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breach; reimbursement for time spent remedying issues relating the breach; free

credit monitoring services; and alternative cash payments for those settlement class

members who already have some form of credit monitoring. If money remains in

the settlement fund after the initial claims period, an “extended claims period” will

go into effect for an additional 4 years (or until the fund is exhausted, whichever

occurs first) which will permit settlement class members to submit claims for

reimbursement of out-of-pocket losses or time spent remedying issues relating the

breach after the initial claims period if certain conditions are met. The settlement

agreement also sets forth a detailed disputes and appeals process for settlement

class members whose claims are denied in whole or part. The Court approves this

claims process and directs that the settlement administrator effectuate the claims

process according to the terms of the settlement agreement.

              Termination of the Settlement and Use of this Order

      (25) This Order shall become null and void and shall be without prejudice

to the rights of the parties, all of which shall be restored to their respective

positions existing immediately before this Court entered this Order, if the

settlement is not approved by the Court or is terminated in accordance with the

terms of the settlement agreement, all subject to the cure provisions set forth in the

settlement agreement. In such event, the settlement and settlement agreement shall



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become null and void and be of no further force and effect, and neither the

settlement agreement nor the Court’s orders, including this Order, relating to the

settlement shall be used or referred to for any purpose whatsoever.

      (26) This Order shall be of no force or effect if final judgment is not

entered or there is no effective date under the terms of the settlement agreement;

shall not be construed or used as an admission, concession, or declaration by or

against Defendants of any fault, wrongdoing, breach, or liability; shall not be

construed or used as an admission, concession, or declaration by or against any

settlement class representative or any other settlement class member that its claims

lack merit or that the relief requested is inappropriate, improper, or unavailable;

and shall not constitute a waiver by any party of any defense or claims it may have

in this litigation or in any other lawsuit.

                      Continuance of Final Approval Hearing

      (27) The Court reserves the right to adjourn or continue the approval

hearing and related deadlines without further written notice to the settlement class.

If the Court alters any of those dates or times, the revised dates and times shall be

posted on the settlement website.

                                Summary of Deadlines

      (28) The settlement agreement shall be administered according to its terms



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pending the Approval Hearing. Deadlines arising under the settlement agreement

and this Order include but are not limited to the following:

 EVENT                                         TIMING

 Deadline for Defendant to disseminate         [10 days after settlement agreement
 CAFA notices                                  filed with the Court]

 Deadline for Defendant to provide
                                               [5 business days after order directing
 settlement class list to settlement
                                               notice]
 administrator

 Notice date                                   [60 days after order directing notice]

 Deadline to file Class Counsel’s motion
                                               [at least 21 days before objection
 for attorneys’ fees, costs, expenses and
                                               deadline]
 service awards

 Deadline for Class Counsel to file motion
 for final approval of settlement and          [14 days prior to final approval
 responses to any timely submitted             hearing]
 settlement class member objections

 Objection deadline                            [60 days after notice date]

 Opt-out deadline                              [60 days after notice date]

                                               [6 months after order directing
 Initial claims deadline
                                               notice]

 Extended claims deadline                      [4 years after initial claims deadline]

                                               [At least 150 days after order
 Final approval hearing
                                               directing of notice]




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IT IS SO ORDERED this ____ day of _______________, 2019.

                                        ____________________________
                                        THOMAS W. THRASH, JR.
                                        United States District Judge




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